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     In re the Marriage of Christopher Everett Stone, Petitioner  and  Iryna Hermanova Stone n/k/a Iryna Hermanova Mokhoshchokova. Respondent No. 25SC17Supreme Court of Colorado, En BancApril 7, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA1801
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
      JUSTICE SAMOUR does not participate.
    